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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

BETTY BUCKLEY,                               )
                                             )
                                             )
                       Plaintiff,            )
                                             )
v.                                           )
                                             )   CASE NO. 1:18-cv-04878-SCJ
FIFTH THIRD BANK, INC.,                      )
                                             )
                                             )
                       Defendant.            )
                                             )
                                             )


                       JOINT STIPULATION FOR DISMISSAL
          Plaintiff Betty Buckley and Defendant Fifth Third Bank, Inc. by and through

their undersigned counsel, and pursuant to Fed. R. Civ. P. (a)(1)(A)(ii), hereby

stipulate to dismissal of the above-captioned action, with prejudice, with each party

to bear its own attorneys’ fees and costs.




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          Dated this 6th day of February, 2019.

 s/ Octavio Gomez                               s/ Louis G. Fiorilla
 Octavio Gomez                                  Louis G. Fiorilla
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 Attorney for Plaintiff                         Attorney for Defendant
                                                FIFTH THIRD BANK, INC.




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                            CERTIFICATE OF SERVICE


        I hereby certify that on this 6th day of February, 2019, I presented the JOINT
STIPULATION FOR DISMISSAL to the Clerk of Court for filing and uploading
to the CM/ECF system, which will automatically send email notification of such
filing to the following attorneys of record:

                                    Octavio Gomez
                            Morgan & Morgan, Tampa, P.A.
                                One Tampa City Center
                           201 North Franklin Street, 7th Floor
                                    Tampa, Florida 33602

          I hereby certify that I have mailed by United States Postal Service the

document to the following non-CM/ECF participants:

                                         NONE



                                         s/ Louis G. Fiorilla
                                         Louis G. Fiorilla
                                         Georgia Bar No. 910188
                                         lfiorilla@burr.com

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